 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  Northern
 ____________________              California
                      District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                            Check if this is an
                                                                                                                               amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                 02/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            Wave Computing, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used                 Wave Semiconductor, Inc.
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                2 ___
                                              ___     3 ___
                                                  6 – ___   6 ___
                                                          8 ___   1 ___
                                                                4 ___ 6 ___
                                                                        1
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                         Mailing address, if different from principal place
                                                                                                  of business

                                               3201 Scott Blvd.
                                              ______________________________________________      _______________________________________________
                                              Number     Street                                   Number     Street

                                              ______________________________________________      _______________________________________________
                                                                                                  P.O. Box

                                               Santa Clara             CA       95054-3008
                                              ______________________________________________      _______________________________________________
                                              City                        State    ZIP Code       City                      State      ZIP Code


                                                                                                  Location of principal assets, if different from
                                                                                                  principal place of business
                                                 Santa Clara County
                                              ______________________________________________
                                              County                                              _______________________________________________
                                                                                                  Number     Street

                                                                                                  _______________________________________________

                                                                                                  _______________________________________________
                                                                                                  City                      State      ZIP Code




 5.   Debtor’s website (URL)                    https://wavecomp.ai/
                                              ____________________________________________________________________________________________________




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Debtor         Wave Computing, Inc.
              _______________________________________________________                          Case number (if known)_____________________________________
              Name




 6.   Type of debtor                        Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________

                                           A. Check one:
 7.   Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              ___ 1 ___
                                              5 ___  9 ___
                                                        1

 8.   Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                          Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                               4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet, statement
                                                               of operations, cash-flow statement, and federal income tax return or if all of these
                                                               documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                               chooses to proceed under Subchapter V of Chapter 11.

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                            Chapter 12
 9.   Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?              Yes.    District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                 District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY


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Debtor           Wave Computing, Inc.
                _______________________________________________________                         Case number (if known)_____________________________________
                Name



 10.   Are any bankruptcy cases               No
       pending or being filed by a
                                              Yes.            See attached list.
                                                       Debtor _____________________________________________ Relationship _________________________
       business partner or an
       affiliate of the debtor?                        District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                           MM / DD / YYYY
       attach a separate list.                         Case number, if known ________________________________



 11.   Why is the case filed in this         Check all that apply:
       district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have            No
       possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




               Statistical and administrative information



 13.   Debtor’s estimation of                Check one:
       available funds                        Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                              1-49                            1,000-5,000                              25,001-50,000
 14.   Estimated number of                    50-99                           5,001-10,000                             50,001-100,000
       creditors
                                              100-199                         10,001-25,000                            More than 100,000
                                              200-999

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Debtor
                  Wave Computing, Inc.
              _______________________________________________________                           Case number (if known)_____________________________________
              Name



                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          04/27/2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                             _________________________________________                    Lawrence R. Perkins
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Chief Restructuring Officer
                                             Title _________________________________________




 18.   Signature of attorney
                                            _____________________________________________                Date
                                                                                                                         04/27/2020
                                                                                                                     ________________6
                                             Signature of attorney for debtor                                        MM     / DD / YYYY


                                               Samuel A. Newman
                                             __________________________________________________________________________________________________
                                             Printed name

                                               Sidley Austin LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                                 555 West Fifth Street
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Los Angeles
                                             ____________________________________________________             CA
                                                                                                             ____________     90013
                                                                                                                          ______________________________
                                             City                                                            State        ZIP Code

                                              (213) 896-6000
                                             ____________________________________                             sam.newman@sidley.com
                                                                                                             __________________________________________
                                             Contact phone                                                   Email address



                                             217042                                               CA
                                             ______________________________________________________ ____________
                                             Bar number                                             State




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                                 LIST OF FILING ENTITIES


       Debtor                  Relationship            District                Date

  Wave Computing,                 Parent          Northern District of     04/27/2020
       Inc.                                           California

  MIPS Tech, LLC                Subsidiary        Northern District of     04/27/2020
                                                      California

   MIPS Tech, Inc.              Subsidiary        Northern District of     04/27/2020
                                                      California

    Hellosoft, Inc.             Subsidiary        Northern District of     04/27/2020
                                                      California

 Caustic Graphic, Inc.          Subsidiary        Northern District of     04/27/2020
                                                      California

     Imagination                Subsidiary        Northern District of     04/27/2020
  Technologies, Inc.                                  California

  Wave Computing                Subsidiary        Northern District of     04/27/2020
   (UK) Limited                                       California




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                           UNITED STATES BANKRUPTCY COURT

               NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

In re:                                               )
                                                     ) Case No. 20-[_____________]
WAVE COMPUTING, INC.,                                )
                                                     ) Chapter 11
         Debtor.                                     )
                                                     )

          CORPORATE OWNERSHIP STATEMENT (FED. R. BANKR. P. 7001.1)

         Pursuant to Federal Rule of Bankruptcy Procedure 7007.1, the undersigned authorized

officer for the above- captioned debtor, certifies that the following is a (are) corporation(s), other

than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any

class of the corporation’s equity interests, or states that there are no entities to report under FRBP

7007.1:


Name:    Tallwood III, L.P.
Address: 325 Lytton Ave., Suite 4A
         Palo Alto, CA 94301

☐ None [check if applicable]



Dated: April 27, 2020
                                               /s/
                                               Lawrence R. Perkins
                                               Chief Restructuring Officer




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                                                                          PRIVILEGED AND CONFIDENTIAL


                                             MINUTES OF THE MEETING OF
                                             THE BOARD OF DIRECTORS OF
                                               WAVE COMPUTING, INC.


                                                             April 26, 2020

                   A telephonic meeting of the Board of Directors (the “Board”) of Wave Computing, Inc., a
            Delaware corporation (the “Company”), was held beginning at approximately 2:00 P.M. PT on
            April 26, 2020, for which advance notice had been properly delivered to all Board members.

                     Present:                 Desi Banatao (Director)
                                              Diosdado Banatao (Director)
                                              Ker Zhang (Director)
                                              Tom FitzGerald (Director)
                                              Sanjai Kohli (Acting President)
                                              Lawrence Perkins (Chief Restructuring Officer)
                                              Miles Staglik (SierraConstellation Partners LLC)
                                              Bill Partridge (SierraConstellation Partners LLC)
                                              David Bitterman (SierraConstellation Partners LLC)
                                              Samuel Newman (Sidley Austin LLP)
                                              Charles Persons (Sidley Austin LLP)
                                              Vijay Sekhon (Sidley Austin LLP)

               I.    Quorum

            Tom FitzGerald noted that notice of the meeting had been given to all those directors entitled to
            receive it and that a quorum was present and accordingly declared the meeting open.

              II.    Ratification of April 24, 2020 Board Minutes

            Tom FitzGerald moved to approve and ratify the April 24, 2020 Board Minutes. The members of
            the Board approved and ratified the April 24, 2020 Board Minutes.

            III.     General Business Updates

            Lawrence Perkins confirmed that there have been no major changes since the April 24, 2020 Board
            meeting.

             IV. Bankruptcy Process and Updates

            Tom FitzGerald asked a question regarding the cash management motion. Samuel Newman and
            Charles Persons responded.

            Tom FitzGerald asked a question about the DIP Note. Lawrence Perkins and Vijay Sekhon
            responded.




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              V.     Governance Matters

            Desi Banatao and Diosdado Banatao resigned from the Board effective as of 2:10 P.M. P.T., and
            left the telephonic Board meeting immediately thereafter. It was confirmed that the Board now
            consists of only Tom FitzGerald and Ker Zhang.

            After careful consideration of the Company Special Committee written consent attached hereto as
            Exhibit A, which written consent was produced at this meeting, the Board was satisfied that the
            relevant matters proposed are likely to promote the success of the Company for the benefit of its
            creditors as a whole. Ker Zhang moved to approve and ratify the Special Committee written
            consent attached hereto as Exhibit A and Tom FitzGerald seconded. The members of the Board
            approved and ratified the Special Committee written consent attached hereto as Exhibit A and all
            matters set forth therein.

             VI.     Data Imaging Plan

            Tom FitzGerald asked a question regarding the Kroll Associates engagement letter. Samuel
            Newman and Charles Persons responded.

            VII.     Updates on Settlements with Liabilities

            Samuel Newman and Charles Persons updated the Board on the status of the Synopsys and Mentor
            Graphics Termination and Release Agreements.

          VIII.      Employee, Independent Contractor and Consultant Matters

            Sanjai Kohli recused himself from the meeting. Vijay Sekhon updated the Board on Sanjai Kohli’s
            Amended and Restated Incentive Agreement. Tom FitzGerald asked a question about the
            agreement. Vijay Sekhon responded. Tom FitzGerald moved to approve Sanjai Kohli’s Amended
            and Restated Incentive Agreement. The members of the Board approved.

            Ker Zhang discussed matters relating to the Company’s operations in China.

            Ker Zhang resigned from the Board effective as of 2:25 P.M. P.T., and left the telephonic Board
            meeting immediately thereafter. It was confirmed that the Board now consists of only Tom
            FitzGerald.

            Tom FitzGerald moved to approve and ratify Ker Zhang’s Consulting Agreement. The members
            of the Board approved and ratified.

             IX.     Open for Other Topics

            Tom FitzGerald asked a question about the voluntary petition for relief under chapter 11 of title
            11 of the United States Code. Samuel Newman responded.

            Tom FitzGerald asked a question about public relations and messaging to employees with respect
            to the filing of the voluntary petition. Lawrence Perkins responded.




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              X.     Adjournment

            There being no further business before the Board, the meeting was adjourned at approximately
            2:36 P.M. PT on April 26, 2020.

            Submitted,



            __________________________
            Tom FitzGerald




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                                                              EXHIBIT A

                                                 WRITTEN CONSENT
                                             OF THE SPECIAL COMMITTEE
                                                         OF
                                               WAVE COMPUTING, INC.

                                                             April 26, 2020

                    The undersigned, being the sole member of the Special Committee of Wave Computing,
            Inc. (the “Company”), hereby irrevocably consents in writing, pursuant to Section 141(f) of the
            General Corporation Law of the State of Delaware and the organizational documents of the
            Company, including the Special Committee Charter, to the following actions and adoption of the
            following resolutions by written consent in lieu of a meeting:

                    WHEREAS, the board of directors of the Company (the “Board”) has formed a Special
            Committee (the “Special Committee”) to approve, negotiate, execute and consummate, or reject,
            strategic options with respect to the Company, including but not limited to a sale, financing,
            restructuring, reorganization, recapitalization, bankruptcy, insolvency, or other transaction
            deemed necessary or desirable by such Special Committee, and have delegated to such Special
            Committee the authority to take all actions required with respect thereto;

                   WHEREAS, the undersigned, Tom FitzGerald (“FitzGerald”) has been appointed as a
            member of the Board and been deemed to be an independent director, and the Board has appointed
            FitzGerald as the sole member of the Company’s Special Committee;

                    WHEREAS, FitzGerald, as the sole member of the Special Committee (the “Approving
            Party”), has considered presentations by (x) the Company’s management (“Management”) on
            behalf of the Company and (y) the legal and financial advisors to the Company (collectively,
            the “Advisors”) regarding the liabilities, liquidity situation and prospects of the Company, the
            strategic alternatives available to the Company, and the potential effects of the foregoing on the
            Company’s business (collectively, the “Strategic Alternatives”);

                    WHEREAS, the Approving Party has discussed the Strategic Alternatives with the
            Management and the Advisors and fully considered each of those alternatives available to the
            Company, and has determined that it is desirable and in the best interests of the Company, its
            creditors, and other interested parties that the Company (i) enter into the DIP Note (as defined
            below), and, subject to final documentation of the DIP Note (as defined below), (ii) file a voluntary
            petition (the “Petition”) for relief under chapter 11 of title 11 of the United States Code (the
            “Bankruptcy Code”) in the United States Bankruptcy Court for the Northern District of California
            (the “Bankruptcy Court”);

                    WHEREAS, the Company desires to negotiate, execute, deliver, and perform under a
            Senior Secured Super-Priority Debtor-in-Possession Promissory Note, by and among the
            Company, MIPS Tech, Inc., Hellosoft, Inc., Wave Computing (UK) Limited, Imagination
            Technologies, Inc., Caustic Graphics, Inc., MIPS Tech, LLC (collectively, the “Debtors”), for the
            benefit of Tallwood Technology Partners LLC (together with its successors and assigns,




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            “Tallwood” or the “DIP Lender”) and Agent (as defined therein), as administrative agent and/or
            collateral agent for such DIP Lender (the “DIP Note”); and

                   WHEREAS, in connection with filing for relief under the provisions of chapter 11 of the
            Bankruptcy Code, the Company anticipates entering into certain ancillary agreements (the
            “Ancillary Agreements”), including the following documents:

                   1.      The DIP Note, the current material terms of which have been presented to and
            heretofore reviewed by the Special Committee; and

                   2.     Any and all other certificates, instruments, documents or agreements and
            acknowledgments deemed necessary or desirable by any of the Authorized Persons (as defined
            below) or contemplated by or required in connection with the consummation of the transactions
            contemplated by the DIP Note (such other certificates, instruments, documents or agreements and
            acknowledgments, together the “DIP Note Documents”).

                     NOW THEREFORE, be it hereby:

                   RESOLVED, that it is advisable and in the best interests of the Company for the
            Authorized Persons, as advised by the Advisors, to negotiate to final documentation the Ancillary
            Agreements and the DIP Note Documents; and be it further

                    RESOLVED, that the Approving Party has determined that it is advisable and in the best
            interests of the Company, subject to final documentation of the DIP Note Documents, to enter into
            each of the Ancillary Agreements and to consummate the transactions contemplated by each of
            the foregoing; and be it further

                    RESOLVED, that the Approving Party has determined that it is advisable and in the best
            interests of the Company, to enter into each of the DIP Note Documents and to consummate the
            transactions contemplated by each of the foregoing in such form as may be approved by any
            Authorized Person, and that the execution and delivery thereof by such Authorized Person shall
            be conclusive evidence of the approval thereof by such Authorized Person and by the Approving
            Party; and be it further

                    RESOLVED, that, upon final documentation thereof, the DIP Note Documents, the
            current material terms of which have been presented to the Special Committee, and the transactions
            contemplated thereby, be, and they hereby are, authorized, approved, and adopted and the
            execution, delivery and performance thereunder by the Company is hereby approved and
            authorized in all respects; and be it further

                    RESOLVED, that subject to final documentation of the DIP Note Documents, the
            Company shall be, and hereby is, authorized and directed to: (a) file the Petition for relief under
            chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) perform any and all such acts
            as are reasonable, advisable, expedient, convenient, proper or necessary to effect the foregoing;
            and it be further




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                    RESOLVED, that FitzGerald, any officer of the Company, or any of their delegates (each
            individually, an “Authorized Person” and collectively, the “Authorized Persons”) shall be, and
            each of them, acting alone, hereby is, authorized and empowered on behalf of and in the name of
            the Company to: (a) enter into, in the name of and on behalf of the Company, the DIP Note
            Documents, upon final documentation and approval thereof by an Authorized Person, such
            approval to be conclusively evidenced by an Authorized Person’s execution and delivery thereof,
            and to take any and all actions necessary or advisable to advance the Company’s rights and
            obligations therein; (b) take or cause to be taken any and all such actions and to negotiate, enter
            into, execute, and deliver from time to time any and all such acknowledgments, agreements,
            amendments, certificates, contracts, instruments, notices, statements, and other documents, or to
            effect any filings with any and all appropriate regulatory authorities, state, federal and foreign, as
            may be required or as any of such officers may deem necessary, appropriate, or advisable to carry
            out the transactions contemplated by, and the purposes and intent of, the foregoing resolutions;
            (c) verify and execute the Petition, as well as all other ancillary documents, and file, or cause to be
            filed with the Bankruptcy Court, the Petition and make or cause to be made, prior to execution
            thereof, any modifications to the Petition or ancillary documents as any such Authorized Person,
            in such officer’s discretion, deems necessary or desirable to carry out the intent and accomplish
            the purposes of these resolutions (the approval of which to be conclusively established by the
            execution thereof by such Authorized Person); (d) verify, execute, and file or cause to be filed all
            petitions, schedules, lists, motions, applications, and other papers or documents necessary or
            desirable in connection with the foregoing; and (e) verify and execute or cause to be executed any
            and all other documents necessary or appropriate in connection therewith in such form or forms as
            any such Authorized Person may approve; and it be further

                    RESOLVED, that each of the Authorized Persons shall be, and hereby is, authorized to:
            (a) borrow funds from, provide guaranties to and undertake related steps with regard to the DIP
            Note Documents and (b) pay related fees and grant security interests in and liens upon, some, all
            or substantially all of the Company’s assets, as may be deemed necessary by any one or more of
            the Authorized Persons in connection with the DIP Note Documents; and it be further

                    RESOLVED, that the Authorized Persons shall be, and each of them alone hereby is,
            authorized, directed and empowered, in the name of and on behalf of the Company, to (a) take
            actions and negotiate, or cause to be prepared and negotiated, and, subject to Bankruptcy Court
            approval as required, to execute, deliver, perform and cause the performance of any other
            agreements (including asset purchase agreements), certificates, instruments, receipts, petitions,
            motions or other papers or documents in furtherance of, and necessary to effectuate, any DIP Note
            Documents to which the Company is or will be a party and (b) request the Bankruptcy Court to
            approve the DIP Note Documents and for any related relief; and it be further

                    RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
            Authorized Persons of the Company, each of the Authorized Persons of the Company or their
            designees shall be, and each of them acting alone hereby is, authorized, directed and empowered,
            in the name of and on behalf of the Company, to take or cause to be taken any and all such further
            actions, to execute and deliver any and all such agreements, certificates, instruments and other
            documents, including, without limitation, (a) organizational documents of certain subsidiaries or
            amendments and/or restatements thereof; (b) the authority to perform such further acts and deeds
            for and on behalf of the Company, as may be necessary, appropriate or advisable, in the judgment



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            of such officers, to carry out the transactions contemplated thereby; and (c) further resolutions
            authorizing or otherwise facilitating the matters described in these resolutions for any subsidiaries,
            and to pay all expenses, including taxes, consent payments, indemnities, and filing fees, in each
            case as in such Authorized Person’s or Authorized Persons’ judgment shall be necessary or
            desirable in order to fully carry out the intent and accomplish the purposes of the resolutions
            adopted herein, with all of such actions, executions, deliveries, filings, and payments to be
            conclusive evidence of such approval or that such Authorized Person deemed the same to be so
            necessary, appropriate or advisable; and it be further

                 RESOLVED, that the Authorized Persons be, and they hereby are, authorized to bind the
            Company for the purposes of the resolutions herein; and be it further

                    RESOLVED, that the Approving Party has received sufficient notice of the actions and
            transactions relating to the matters contemplated by the foregoing resolutions or hereby waives
            any right to have received such notice; and be it further

                     RESOLVED, that any and all acts taken and any and all certificates, instruments,
            agreements or other documents executed for or on behalf of the Company by any Authorized
            Person prior to the adoption of the foregoing resolutions with regard to any of the transactions,
            actions, certificates, instruments, agreements, or other documents authorized or approved by the
            foregoing resolutions be, and they hereby are, ratified, confirmed, adopted, and approved; and be
            it further

                     RESOLVED, that all acts and deeds of any director, officer, employee or agent of the
            Company on behalf of the Company taken prior to the date hereof to carry out the intent and
            accomplish the purposes of these resolutions are hereby approved, adopted, ratified and confirmed
            in all respects as the authorized acts and deeds of the Company.

                                                    [Signature Page Follows]




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                    IN WITNESS WHEREOF, the undersigned has executed this written consent to be
            effective as of the date first set forth above.

                                                             WAVE COMPUTING, INC.


                                                             By: ______________________
                                                             Name: Tom FitzGerald
                                                             Title: Sole member of Special Committee of the
                                                             Board of Directors




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Fill in this information to identify the case:

Debtor name: Wave Computing, Inc., et al.
United States Bankruptcy Court for the: Northern District of California
Case number (if known): 20-_____

                                                                                                                                 ¨ Check if this is an
                                                                                                                                         amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders, on a Consolidated Basis                                                                                     12/15

A list of creditors holding the 30 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
Largest unsecured claims.

    Name of creditor and complete      Name, telephone number,       Nature of the       Indicate if   Amount of unsecured claim
    mailing address, including zip     and email address of creditor claim               claim is      If the claim is fully unsecured, fill in only unsecured
    code                               contact                       (for example,       contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,        unliqui-      total claim amount and deduction for value of
                                                                     bank loans,         dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional        disputed
                                                                     services, and                     Total claim, if    Deduction for      Unsecured
                                                                     government                        partially          value of           claim
                                                                     contracts)                        secured            collateral or
                                                                                                                          setoff

1   Water Tower Fee Owner              Alisha Mays                    Landlord             ¨C                                                $16,332,846.11
    PO Box 31001-2461                  Alisha.Mays@colliers.com
    Pasadena CA 91110-2461             Tel: (408) 503-1209                                 ¨U
                                                                                           ¨D
2   Avago Technologies U.S. Inc.       Jeff Masoian                   Accounts             ¨C                                                $12,500,000.00
    1320 Ridder Park Drive             jeff.masoian@broadcom.com      Payable
    San Jose CA 95131                  Tel: (408) 433-8000                                 ¨U
                                                                                           þD
3   California Franchise Tax Board     No Contact Person              Taxes                ¨C                                                $12,106,438.00
    PO Box 942857                      Tel: (800) 852-5711
    Sacramento CA 94257-0531                                                               ¨U
                                                                                           þD
4   Synopsys, Inc                      Joseph Karongo              Accounts                þC                                                $7,541,627.00
    PO Box 39000                       Joseph.Karongo@synopsys.com Payable
    Dept #01573                                                                            ¨U
    San Francisco CA 94139             Tel: (650) 584-7490
                                                                                           þD
5   Internal Revenue Service           Gwendolyn K McManemy           Taxes                ¨C                                                $2,008,292.00
    1301 Clay Street                   Tel: (314) 339-1413
    Suite 1040S                        Fax: (855) 526-8298                                 ¨U
    Oakland CA 94612
                                                                                           ¨D
6   PFIL North America, Inc            delmundo.dje@ayala.com.ph      Convertible Note     þC                                                $1,999,998.00
    32F-35F Tower One and Exchange
    Plaza                                                                                  ¨U
    Ayala Triangle, Ayala Avenue
    Makati City 1226
                                                                                           ¨D
    Philippines

7   Andes Technology USA Corp          Emerson hsiao                  Accounts             þC                                                $1,481,111.11
    2860 Zanker Rd                     ehsiao@andestech.com           Payable
    Suite 104                          Tel: (408) 203-4222                                 ¨U
    San Jose CA 95134
                                                                                           þD



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                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 1
                                                                  18
Debtor    Wave Computing, Inc., et al.                                                                      Case number (if known) 20-_____

    Name of creditor and complete    Name, telephone number,       Nature of the   Indicate if   Amount of unsecured claim
    mailing address, including zip   and email address of creditor claim           claim is      If the claim is fully unsecured, fill in only unsecured
    code                             contact                       (for example,   contingent,   claim amount. If claim is partially secured, fill in
                                                                   trade debts,    unliqui-      total claim amount and deduction for value of
                                                                   bank loans,     dated, or     collateral or setoff to calculate unsecured claim.
                                                                   professional    disputed
                                                                   services, and                 Total claim, if    Deduction for      Unsecured
                                                                   government                    partially          value of           claim
                                                                   contracts)                    secured            collateral or
                                                                                                                    setoff

8   Drawbridge Realty Trust          Bill Doyle                      Landlord        þC                                                $1,194,114.63
    Three Embarcadero Center         bdoyle@drawbridgerealty.com
    Suite 2310                       Tel: (415) 529-3470                             ¨U
    San Francisco CA 94111-3737
                                                                                     ¨D
9   Avnet, Inc                       Scott Sekimura                  Accounts        ¨C                                                $1,185,749.68
    PO Box 100340                    scott.Sekimura@Avnet.com        Payable
    Pasadena CA 91189                Tel: (480) 643-8139                             ¨U
                                                                                     ¨D
10 RT-RK                             Svetlana Vasiljevic
                                     Svetlana.Vasiljevic@rt-rk.com
                                                                     Accounts        ¨C                                                $1,066,713.78
   Narodnog Fronta 23a                                               Payable
   21000 Novi Sad                                                                    ¨U
    Serbia
                                                                                     ¨D
11 Pillsbury Winthrop Shaw Pittman   Gurpreet Bal
                                     gurpreet.bal@pillsburylaw.com
                                                                     Accounts        ¨C                                                $634,320.73
   LLP                                                               Payable
   2550 Hanover Street                                                               ¨U
   Palo Alto CA 94304
                                                                                     ¨D
12 Mentor Graphics                   Sandie Beebe                    Accounts        ¨C                                                $620,000.00
   PO Box 3912                       sandra_beebe@mentor.com         Payable
   Carol Stream IL 60132-3912        Tel: (503) 685-1858                             ¨U
                                                                                     ¨D
13 Ernst & Young LLP                 Antonio J. Rebelo               Accounts        ¨C                                                $561,740.00
   PO Box 846793                     antonio.rebelo@ey.com           Payable
   Los Angeles CA 90084-6793         Tel: (408) 947 4984                             ¨U
                                                                                     ¨D
14 Fungible                          Bobby Shoker                    Accounts        þC                                                $396,209.00
   3201 Scott Blvd                   bobby.shoker@fungible.com       Payable
   Santa Clara CA 95054              Tel: (669) 292-5522                             ¨U
                                                                                     ¨D
15 Cadence                           Wendy Lujan-Cavin               Accounts        ¨C                                                $391,911.00
   PO Box 202769                     wendy@cadence.com               Payable
   Dallas TX 75320-2769              Tel: (801) 561-6509                             ¨U
                                                                                     ¨D
16 EnSilica India Pvt Ltd            PM Suresh                       Accounts        ¨C                                                $391,468.00
   #2064, Siri Iris, 24th Main       pm.suresh@ensilica.com          Payable
   HSR Layout, 1st Sector            Tel: 91085 81968                                ¨U
   Bengaluru 560102
   India
                                                                                     ¨D
17 TargetCW                          Tim Seaboch                     Accounts        ¨C                                                $323,579.12
   9475 Chesapeake Drive             tim.seaboch@targetcw.com        Payable
   San Diego CA 92123                Tel: (858) 810-3000                             ¨U
                                                                                     ¨D
18 Encore Semi Inc.                  Glennisha (Glenn) Wells         Accounts        ¨C                                                $300,512.50
   9444 Waples Street                glennisha@encoresemi.com        Payable
   Suite 150                         Tel: (858) 225-7717                             ¨U
   San Diego CA 92121
                                                                                     ¨D
19 Imperas Software Limited          Peter Lapidos                   Accounts        ¨C                                                $153,500.00
   North Weston, Thame               finance@imperas.com             Payable
   Oxfordshire OX9 2HA                                                               ¨U
   United Kingdom
                                                                                     ¨D
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                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                             Page 2
                                                                  18
Debtor   Wave Computing, Inc., et al.                                                                              Case number (if known) 20-_____

    Name of creditor and complete       Name, telephone number,       Nature of the       Indicate if   Amount of unsecured claim
    mailing address, including zip      and email address of creditor claim               claim is      If the claim is fully unsecured, fill in only unsecured
    code                                contact                       (for example,       contingent,   claim amount. If claim is partially secured, fill in
                                                                      trade debts,        unliqui-      total claim amount and deduction for value of
                                                                      bank loans,         dated, or     collateral or setoff to calculate unsecured claim.
                                                                      professional        disputed
                                                                      services, and                     Total claim, if    Deduction for      Unsecured
                                                                      government                        partially          value of           claim
                                                                      contracts)                        secured            collateral or
                                                                                                                           setoff

20 DLA Piper LLP (US)                   Sherl Horton
                                        sherl.horton@us.dlapiper.com
                                                                       Accounts             ¨C                                                $151,834.63
   PO Box 75190                                                        Payable
   Baltimore MD 21275                   Tel: (813) 498-6380                                 ¨U
                                                                                            ¨D
21 KBM Office Equipment                 Uyen Dang                      Accounts             ¨C                                                $145,321.91
   160 West Santa Clara St              uyen.dang@kbm-hogue.com        Payable
   Suite 102                            Tel: (408) 213-5437                                 ¨U
   San Jose CA 95113                    Fax: (408) 938-0699
                                                                                            ¨D
22 SurroundHD                           Derek Meyer                    Accounts             ¨C                                                $140,000.00
   12225 Prosser Dam Rd                 derek.meyer@surroundhd.com     Payable
   Truckee CA 96161                     Tel: (650) 400-0018                                 ¨U
                                                                                            ¨D
23 Asiczen Technologies India Pvt Ltd   Laxmikant Pattnaik             Accounts             ¨C                                                $133,168.00
   Suite #812, 8th Floor                lpattnaik@asiczen.com          Payable
   DLF Cybercity, Patia,                Tel: 91 9937144847                                  ¨U
   Bhubaneswar
   Odisha 251024
                                                                                            ¨D
   India

24 Dr. Kurt Lauk                        Dr. Kurt Lauk                  Convertible Note     þC                                                $99,998.50
   Königsstr. 1A                        kjlauk@globecp.de
   Stuttgart 70173                                                                          ¨U
   Germany
                                                                                            ¨D
25 Dennemeyer & Co., LLC                Kathi HOWARD                   Accounts             ¨C                                                $89,239.45
   2 North Riverside Plaza              khoward@dennemeyer.com         Payable
   Suite 1500                           Tel: (312) 628-5557                                 ¨U
   Chicago IL 60606
                                                                                            ¨D
26 Chowmill, Inc                        Mubeen Arbab                   Accounts             ¨C                                                $87,532.73
   458 Esther Avenue                    mubeen@chowmill.com            Payable
   Campbell CA 95008                    Tel: (408) 215-1304                                 ¨U
                                                                                            ¨D
27 Sintegra, Inc                        Bharat Gohil                   Accounts             ¨C                                                $85,120.00
   2328 Walsh Ave                       bharat@sintegra.com            Payable
   Suite E                              Tel: (408) 529-5433                                 ¨U
   Santa Clara CA 95051
                                                                                            ¨D
28 Robert Half Management               Adam Fauvre                    Accounts             ¨C                                                $84,867.50
   Resources                            adam.fauvre@rhmr.com           Payable
   PO Box 743295                        Tel: (408) 271-1371                                 ¨U
   Los Angeles CA 90074-3295
                                                                                            ¨D
29 Joshi Partners LLC                   Anand Joshi                    Accounts             ¨C                                                $81,600.00
   4527 Amiens Ave                                                     Payable
   Freemont CA 94555                                                                        ¨U
                                                                                            ¨D
30 Intel Corporation                    Stu Bahanov                Accounts                 ¨C                                                $75,142.57
   c/o MBG Consulting                   S.Bahanov@MBGConsulting.comPayable
   Mailstop OC2-137                                                                         ¨U
   4500 S. Dobson Rd
   Chandler AZ 85248
                                        Tel: (312) 216-2525
                                                                                            ¨D




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                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 3
                                                                  18
Fill in this information to identify the case and this filing:
Debtor name: Wave Computing, Inc., et al.
United States Bankruptcy Court for the: Northern District of California
Case number (if known): 20-_____



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
      another individual serving as a representative of the debtor in this case.
      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      Schedule H: Codebtors (Official Form 206H)
      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ¨Amended Schedule ____
      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders, on a
         Consolidated Basis (Official Form 204)
      ¨Other document that requires a declaration _______________________________________________________________________

      I declare under penalty of perjury that the foregoing is true and correct.



                        04/27/2020
       Executed on
                         MM/DD/YYYY
                                                                  û
                                                                      ______________________________________________________________
                                                                      Signature of individual signing on behalf of debtor


                                                                      Lawrence R. Perkins________________________
                                                                      Printed name


                                                                      Chief Restructuring Officer____________________
                                                                      Position or relationship to debtor




Official Form 202                     Declaration Under Penalty of Perjury for Non-Individual Debtors                                    Page 1 of 1
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